Case 1:11-cv-00538-DKW-BMK Document 72-2 Filed 03/20/13 Page 1 of 6   PageID.808
Case 1:11-cv-00538-DKW-BMK Document 72-2 Filed 03/20/13 Page 2 of 6   PageID.809
Case 1:11-cv-00538-DKW-BMK Document 72-2 Filed 03/20/13 Page 3 of 6   PageID.810
Case 1:11-cv-00538-DKW-BMK Document 72-2 Filed 03/20/13 Page 4 of 6   PageID.811
Case 1:11-cv-00538-DKW-BMK Document 72-2 Filed 03/20/13 Page 5 of 6   PageID.812
Case 1:11-cv-00538-DKW-BMK Document 72-2 Filed 03/20/13 Page 6 of 6   PageID.813
